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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )              8:05CR421
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
CARLOS SANCHEZ and                                )
SHEILA FOX,                                       )
                                                  )
                     Defendants.                  )


       This matter is before the court on the motion to continue by defendant Sheila Fox
(Fox) (Filing No. 22). Fox seeks a continuance of the trial of this matter which is scheduled
for March 13, 2006. Fox's counsel represents that counsel for the government has no
objection to the motion. Fox's counsel represents that Fox will submit an affidavit in
accordance with paragraph 9 of the progression order whereby Fox consents to the motion
and acknowledges she understands the additional time may be excludable time for the
purposes of the Speedy Trial Act. Upon consideration, the motion will be granted, and trial
will be continued as to both defendants.
       IT IS ORDERED:
       1.     Fox's motion to continue trial (Filing No. 22) is granted.
       2.     Trial of this matter is re-scheduled for April 10, 2006, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
March 8, 2006 and April 10, 2006, shall be deemed excludable time in any computation
of time under the requirement of the Speedy Trial Act for the reason that defendant's
counsel requires additional time to adequately prepare the case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 8th day of March, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
